               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:13 cr 25-2


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )           ORDER
                                             )
CRISTIAN NEVAREZ-BELTRAN.                    )
______________________________________       )


       THIS MATTER has come before the undersigned pursuant to a Motion to

Withdraw as Counsel of Record and Request for Appointment of New Counsel

(#52) filed by counsel for Defendant. At the call of this matter on for hearing, it

appeared that Defendant and his attorney, Fredilyn Sison, were present and the

Government was present through Assistant United States Attorney Tom Kent.

After hearing arguments of Ms. Sison and Mr. Kent and considering the records in

this cause, the undersigned has determined that good cause has been shown of the

granting of the motion.

                                     ORDER

       IT IS, THEREFORE, ORDERED that the Motion to Withdraw as Counsel

of Record and Request for Appointment of New Counsel (#52) is hereby

ALLOWED and Ms. Sison is allowed to withdraw as counsel for Defendant. The

Federal Defenders for the Western District of North Carolina is directed to appoint


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new counsel to represent Defendant in this case. Ms. Sison is Ordered and directed

to provide a copy of her entire file to the new attorney which is to be appointed to

represent Defendant in this matter.

                                                     Signed: October 29, 2013




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